Case 1:24-cv-00001 Document 64-1 Filed on 02/01/24 in TXSD Page 1 of 6




                  Exhibit A
Case 1:24-cv-00001 Document 64-1 Filed on 02/01/24 in TXSD Page 2 of 6
Case 1:24-cv-00001 Document 64-1 Filed on 02/01/24 in TXSD Page 3 of 6
Case 1:24-cv-00001 Document 64-1 Filed on 02/01/24 in TXSD Page 4 of 6
Case 1:24-cv-00001 Document 64-1 Filed on 02/01/24 in TXSD Page 5 of 6
Case 1:24-cv-00001 Document 64-1 Filed on 02/01/24 in TXSD Page 6 of 6
